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TUDI COSTELLO Case No.: ,
“90 2 0076321
Petitioner, .
vs. LAND USE PETITION - COMPLAINT
MAYOR JOB SCHEY, RCW 36.70C 2
CITY OF VADER
City

Case 3:20-cv-06251-BHS-TLF Document 1-2 Filed 12/28/20 Page 1 of 22

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LEWIS COUNTY, WASH
Superior Court

ral Hh Saye
bee 14 As

Lewis County Clerk

BEFORE THE SUPERIOR COURT OF LEWIS COUNTY

 

 

 

LAND USE PETITION - COMPLAINT - PAGE 1

I. INTRODUCTION

This COMPLAINT is filed under authority of the LAND USE PETITION ACT (RCW
36.70C) governing judicial review of land use decisions. This petition pertains to a Stop Work Order
dated September 24, 2020 issued by the City of Vader (“City”) against the Petitioner, Judi Costello.
The Petitioner appealed the Stop Work Order on October 1, 2020. On November 1, 2020, during the
pendency of the appeal, the City filed a subsequent action against the Petitioner for the same subject
matter. The Stop Work Order was heard by the City of Vader Hearing Examiner, Mark Scheibmeir
(“Hearing Examiner”) on November 23, 2020. The Hearing Examiner’s decision was dated
November 23, 2020 and mailed to the Petitioner on November 24, 2020. A Request for
Reconsideration was filed by the Petitioner on December 2, 2020. The Hearing Examiner’s denied

the Request for Reconsideration on December 3, 2020.

 
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H. IDENTIFICATION OF THE PARTIES

1. Name and mailing address of the Petitioner:

Judi Costello
P.O. Box 41
Vader, Washington 98593

2. Name and mailing address of the Petitioner’s attomey:

Tonya M. Hebert, WSBA #51659
411 NE First Street, P.O. Box 69
Winlock, Washington 98596

3. Name and mailing address of local jurisdiction:

City of Vader

Joe Schey, Mayor

P.O. Box 189

317 8" Street

Vader, Washington 98593

4. Decision Making Body/Officer:

City of Vader Hearing Examiner, Mr. Mark Scheibmeir (“Hearing Examiner”)
299 N.W. Center Street, P.O. Box 939
Chehalis, WA 98532

Hl. STANDING

The Petitioner has Standing under RCW 36.70C.060{1) because she is the landowner of the
Property to which the land use decision is directed. The Petitioner has exhausted all available
administrative remedies. A judgment in favor of the Petitioner would substantially eliminate the

prejudice caused by this land use decision.
IV. STATEMENT OF FACTS

i. The Petitioner applied for a re roofing permit through the City on June 2, 2020.
2. At the time of the permit application, the City demanded an unlawful permit fee amount of

$386.50 from the Petitioner.

LAND USE PETITION - COMPLAINT - PAGE 2

 

 
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11.

The City issued Permit VAD 20-13 (“Permit”) on June 29, 2020 for the City’s correct roofing
fee of $86.50.

The Permit was issued on a revised roofing permit form used only for the Petitioner’s Permit.
During the re roofing work, a Stop Work Order was posted on the property on September 17,
2020 identifying two alleged violations. Work on the property immediately stopped. The Stop
Work Order (“Order-1”)} was posted but not served on the Petitioner.

The City was required to post Order-1 and serve the person engaged in doing the work. VMC
19.01.060(a).

The Petitioner responded in writing and received no return response.

A. second Stop Work Order (Order-2) for the same subject matter was issued by the City on
September 2], 2020. The Petitioner immediately stopped work and again communicated with
the City. Order-2 was personally served on the Petitioner.

The Petitioner went to the City to discuss Order-2. As a result of this communication, on
September 21, 2020, the City called for an inspection of the sheeting and reported to the
Petitioner that an appointment was scheduled for an inspection for the next morning. :

The City inspector, Konrad, (“Inspector”) drove by the property on the afternoon of September
21,2020. He got out of his car and took two photographs with his phone. The Inspector arrived
without COVID-19 safety protocols nor did the Inspector bring a ladder for the inspection.
During the inspection, the Inspector was verbally aggressive towards the Petitiotier. The
Inspector threatened her with incarceration and demanded she tear off the shingles on the portion
of the roof that was instalied prior to Order-2. The Inspector provided no written report, or
written guidance, to the Petitioner at anytime after his inspection.

While the first and second stop work orders were issued, the City of Vader Mayor, Mr. Joe

Schey, (“Mayor”) contacted the State of Washington Labor and Industries to initiate an

LAND USE PETITION - COMPLAINT - PAGE 3

 
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imvestigation about the Petitioner’s property pertaining to unrelated electrical matters. Based
on the State’s inspection, no issues were found and ail permits were proper.

12. During the same time period, the Mayor then contacted the State of Washington Labor and
Industries to initiate an investigation regarding the Petitioner’s roofing material that was
removed from the roof during the project but stili on site. The State of Washington inspected
the project and tested the roofing material for asbestos. Based on the State’s inspection and the
testing results of the roofing materials, no issues were present on the property.

13. The Petitioner paid for all inspections requested by the City and all tests requested by ‘the State.

14. On September 24, 2020, the first and second stop work orders were retracted by the City.

15. A third Stop Work Order (“Order”), the subject of the appeal, was posted on the site on
September 24, 2020 for the same subject matter. The Order was not served on the Petitioner.

16. The Petitioner attempted to work with the City to understand and comply with the Onder but no
deadline for remedial action was identified on the Order and the appeal period expired within 7
days. |

17. The Petitioner filed an appeal of the Order on October 1, 2020. The Petitioner’s appeal stated
the Order was not properly issued and/or a violation did not occur. :

18. The City’s appeal fee based on Ordinance 21-2017, and the 2020 Municipal Fees posted on the
City’s website, identified the appeal fee as $250.00.

19. The City charged the Petitioner $500.00 to file the appeal.

20. The City’s Order allowed for two remedial actions either (i) remove the roofing materials on
that portion of the roof that was covered to allow for an inspection; or (ii) provide a detailed
report by a licensed structural engineer.

21. On October 8, 2020, after the statutory period to file the appeal expired, and while the appeal

was pending, the City served the Petitioner with the Order by mail.

LAND USE PETITION - COMPLAINT - PAGE 4

 
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22. During pendency of the appeal, and before the hearing, the Petitioner obtained the requested
detailed report from a licensed structural engineer and submitted the report to the City, and the
Hearing Examiner, on November 5, 2020.

23. On November 11, 2020, during pendency of the appeal, and during the City’s stay, the City
served the Petitioner with a new Notice of Violation based on the alleged violations in the Order.

24. The Petitioner’s appeal of the Order was based on the following categories: Failure by the City
to issue the Order properly including — failure to properly serve; failure to identify referenced
code provisions; failure to provide a reasonable time for compliance; failure to provide a
statement of determination; failure to provide an alternate 15-day appeal period; constitutional
violations; and mootness. |

25. The Hearing Examiner ruled on summary judgment for the City on November 23, 2020 and
mailed the determination on November 24, 2020. The Hearing examiner’s ruling is attached as
Exhibit A to this Complaint. |

26. The Petitioner filed a timely Request for Reconsideration on December 1, 2020. The Hearing

Examiner denied the Request for Reconsideration on December 3, 2020.

Vv. ERRORS COMMITTED

A. THE LAND USE DECISION IS A CLEARLY ERRONEOUS APPLICATION OF
THE LAW TO THE FACTS.

WAS THE STOP WORK ORDER ISSUED PROPERLY?
1} SERVICE OF PROCESS
It was determined by the Hearing Examiner that the Order had to be posted on the site and

personally served. The Order was posted on the site at some time but did not provide sufficient and
Statutory notice because it was never served on the Petitioner personally at that time, or within a

reasonable time thereafter.

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The Hearing Examiner determined the service of process was sufficient by mail because
the City did provide service by mail 14 days after the Order issued and seven (7} days after the
statutory appeal period expired. The Order was issued on September 24, 2020. The time to appeal,
which is under a strict compliance standard, was within seven (7) days thereafter. The appeal
period ended on October 1, 2020 which was the date the appeal was filed.

The City waited another seven (7) days after the appeal was filed to properly serve notice.
This was not harmless error because the Petitioner had to pay for the appeal by this time. This was
a jurisdictional challenge included in her appeal.

Notice that is timely is required to invoke jurisdiction in this matter. The Hearing
Exammer should have dismissed the matter and refunded the Petitioner the required appeal fee
because serving notice on the Petitioner a week after the statutorily required appeal period expired
is Insufficient notice.

The purpose of service of process is to provide due process and, specifically note that an
action has been commenced. With the posting, withdrawals, inspections lacking reports, and the
ongoing haphazard actions by the City it unclear as to the City’s requirements.

The City had to serve notice on the Petitioner within a reasonable time but 14 days after the
Order was issued, and seven (7) days after the appeal was filed, is not reasonable and not sufficient
notice. The City failed to meet a standard of legal reasonableness. Because notice was

insufficient, the City committed a fatal procedural error and the Order should have been dismissed.

2) VIOLATION OF CODE REQUIREMENTS FOR ISSUANCE OF ORDER.
Under the City’s code, an appellant appealing a land use matter must strictly comply with the

City’s code requirements (VMC 19.010.080(f)(6)). The City’s code requirements include timely

filing, paying fees and inclusion of proper information within the appeal. But, in this process, the

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City failed to include specific information in the Order. The Hearing Examiner determined the

information was sufficient to comply, or substantially comply, with the requirements.

a Under VMC 19.01.040(b)(8), the City is required to include notice ofa “reasonable time
for compliance” in the Order which was included. The Hearing Examiner determined that because
no date was specified, it meant that the Petitioner had “as much time as was needed”. The appeal
period was only seven (7) days and thus, unless a date was identified, any appellant would believe
they had only seven (7) days to try and remedy a solution to the Order.

It wasn’t until November 11, 2020 that the Petitioner was able to provide the required licensed
stractural engineering report to evidence there were no problems identified on her site. The
Petitioner had to file an appeal for fear of retaliation and rejection of her compliance which
certainly was the case here. Throughout the City’s code it references the “time specified” for
compliance and other matters. There is no where in the Order the time specified for compliance
was provided and therefore the statutory requirement was not met and the Order was not issued

properly.

b. The City was also unabie to identify the specific code violation on the Order (VMC
19.01.040(b)(6)). The Hearing Examiner determined the language on the Order was sufficient to
identify the violation but as shown by the Petitioner’s compliance with the suggested remedy, it
was not clear because the City’s received and rejected her attempt for the requested remedy. Tf a
reasonable person could not identify terms in the Order it is clearly ambiguous and does not meet
the specific code to properly identify the issue.

The City cannot provide a code because it had never, in the past, inspected the sheeting on any

of the prior re roofing permits because there is no code to identify its requirement.

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Because of the aforementioned matters, the Order was not properly issued and THE LAND
USE DECISION IS CLEARLY AN ERRONEOUS APPLICATION OF THE LAW TO THE

FACTS.

B. THE LAND USE DECISION IS OUTSIDE THE AUTHORITY OR JURISDICTION
OF THE BODY OR OFFICER MAKING THE DECISION & ERRONEOUS:
APPLICATION OF LAW TO FACTS

1) WAS THE STOP WORK ORDER MOOT AT THE TIME OF THE HEARING?

The Hearing Examiner determined the claim of mootness was outside of his jurisdiction and
that he was only required to determine if the Order was issued properly and/or if a violation
occurred.

Under the City’s code, VMC 19.01.660(b)(c}, compliance could have been achieved within
the compliance date (see supra— compliance date was omitted) and a determination of compliance
is determined by the Hearing Examiner.

On November 5, 2020, and 18 days prior to the hearing, the Petitioner provided the City’s
required remedy, a report! issued by a licensed structural engineer, to the City and the Hearing
Examiner. Despite the information provided, the City then determined the licensed structural
engineering report was insufficient and required additional specifications on the report from what

the City originally requested in the Order.

 

1 The report submitted lacked the engineering stamp which was on the report but stripped from the email system

upon receipt. A stamped report has since been provided to the City.

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The Hearing Examiner decided that he did not have the authority to make a determination of
mootness even though the City’s code established the authority for the Hearing Examiner to make
this determination was in fact prior to the hearing.

Although the Hearing Examiner deemed this matter outside of his jurisdiction, it was an

erroneous application of law to the facts.

C. THE LAND USE DECISION VIOLATES THE CONSTITUTIONAL RIGHTS OF
THE PARTY SEEKING RELIEF.

1) VIOLATION OF PROCEDURAL DUE PROCESS

The Due Process Clause provides that no states shall deprive a person of life, liberty or property
without the due process of law.

During pendency of the appeal of the Order, and while the Petitioner remained unable to occupy
the property where she was residing part time, the City continued to pursue the Petitioner by
continuing prosecution of the Order through a new Notice of Violation issued on November 1 1, 2020
covering the same subject matter.

Under VMC 19.01.080(g) the effect of filing a timely appeal “shall stay any enforcement action
based on a stop work order, emergency order or notice of violation until the decision maker's
decision issues unless the clerk-ireasurer finds that the violation causes an immediate threai.to public
health or safety”.

First, the Notice of Violation was improperly issued by the Building Inspector, not the Cierk-
Treasurer as required by the code. Because nevertheless, during this time, the Petitioner was told to

not occupy her property for any matter, except to cover the roof with a tarp, there was no immediate

LAND USE PETITION - COMPLAINT - PAGE 9

 
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threat to anyone. The Petitioner even had to relocate to her other residence full time during this
period.

The Notice of Violation based on the Order was served on the Petitioner during the stay and a
timeline to remedy the Order was imposed effective December 1, 2020. Thereafter, the City initiated
fines upon the Petitioner in the amount of $1,000.00 per day for violation of the Order commencing
December 1, 2020.

Under the City’s code, the Petitioner did not have to request a stay, rather a stay was initiated
upon the timely filing of an appeal. Here, the appeal was timely filed but the City continued to
prosecute the matter before the hearing and the Hearing Examiner’s determination dated November
23, 2020 as well as the Hearing Examiner’s reconsideration and commenced imposing monetary
penalties upon the Petitioner.

Under VMC 19.010.060(b), the City’s code specified that if no appeal is filed, a notice of
violation for the violation may be filed. A notice of violation is never filed by a building inspector.
Rather, the building inspector filed the notice to further harass the Petitioner.

Here, the Petitioner filed an appeal and the City authorized continued unlawful prosecution of
this matter during pendency of the appeal. A stay is meant to put the appellant in a position that it
was at the time the appeal is filed. The City violated its code for a stay of enforcement and violated
the Petitioner’s due process by continuing to prosecute this Order during the stay.

The City averted the requirements of the stay, and at the same time of pendency of the appeal,
began imposing monetary penalties even prior to the Hearing Examiner’s decision and the
reconsideration period.

The City did not allow for due process of this matter and is now imposing unlawful fmes upon

the Petitioner.

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THE PETITIONER’S DUE PROCESS RIGHTS WERE VIOLATED FOR ILLEGALLY

CONTINUING PROSECUTION OF THE ORDER DURING THE STAY.

2) EQUAL PROTECTION VIOLATION

The Fourteenth Amendment guarantees “fnjo State shall make or enforce any law which shall
deny to any person within its jurisdiction the equal protection of the laws”. The law provides that
equal enforcement of the laws is a guarantee allowing the law itself to be challenged.

From commencement of the Petitioner’s application for a re roofing permit she has been required
to a substantially different process and substantially different fees from any other citizen seeking the
same permit from the City.

The City demanded of the Petitioner almost four (4) times the fee amount that every permittee,
up until this time, was charged. There is no reference in the City’s ordinance of a change‘in the fee
amount but rather the change was directed solely to harass the Petitioner when she arrived 2 the City
to request a re roofing permit.

The Petitioner was then issued a permit created specifically for her because this permit form was
different from any of the prior permits issued by the City. None of the prior permittees were required
to have a sheeting inspection, and the City has no record of performing any such inspection for any
of the prior permittees,

The City also included new language in the Petitioner’s permit that referenced an IRC that did
not apply to what the City was trying to request (the sheeting inspection). The form change and
language added to the Petitioner’s permit was imposed solely to harass the Petitioner and:create an
ambiguous condition where the Petitioner could not comply with the reference code on the permit

because it did not apply to her situation.

LAND USE PETITION - COMPLAINT -~ PAGE 11

 
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In addition, the Mayor did in fact subject the Petitioner to further harassment because he
intentionally made false reports to the State of Washington to in spect the Petitioner’s property based
on no evidence of wrongdoing. The Mayor requested the state electrical inspector inspect the
Petitioner’s property and the Mayor then requested Labor and Industries inspect the Petitioner’s
property. The result of the two state agency inspections evidenced there were no infractions on the
Petitioner’s property. This action by the City, and the Mayor, was conducted in bad faith and not to
ftuther any public interest. There is no legal basis, or reasonableness, to invoke state interference in
this matter.

Further, the Petitioner, upon filing her appeal based on the Order. was charged a $500.00 appeal
fee. The appeal fee amount is double the actual appeal fee, as noted in the City’s ordinance 21-2037
and also posted on the City’s website for the appeal of the Order. Even though a demand for a refund
was requested, the City rejected the request to refund the Petitioner’s overpayment amount. There
is no recording from any subsequent City Council Meeting that authorized a change in the appeal
fee.

Finally, it has not gone unnoticed that the City imposed, not only the requirements identified in
the Order, but continual additional requirements that are simply unachievable because they. continue
to morph as the Petitioner continues to attempt compliance. The continual change of requirements
of the Order is unreasonable when the Petitioner did in fact, comply with the specified option for a
resolution.

In light of the prior applications and permits issued by the City, the Petitioner has been held to a
wholly different standard and at a higher cost for services provided by the City. It is clear the City
has continued harassment of the Petitioner and has applied its laws and standard unfairly against the
Petitioner.

The Petitioner’s constitutional right to for equal protection under the law has been violated.

LAND USE PETITION - COMPLAINT - PAGE 12

 

 
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Case 3:20-cv-06251-BHS-TLF Document 1-2 Filed 12/28/20 Page 13 of 22

VI. REQUEST FOR STAY OF ACTION PENDING REVIEW

The Petitioner requests the Court impose a stay of action because it is likely the Petitioner will
prevail on the merits. Without a stay the Petitioner will suffer irreparable harm because the Petitioner
is now being improperly fined $1,000.00 per day. Because there are no citizen complaints against

the Petitioner’s Property a grant of the stay will not substantially harm any party to this proceeding.

VIL PRAYER FOR RELIEF

The City’s actions violate the City’s own codes as well as the Constitutional Rights of the
Petitioner. The Petitioner hereby requests this court:

(1) DISMISS THE ORDER;

(2) DISMISS THE NOTICE OF VIOLATION AND ALL ASSOCIATED FINES
AND FEES ASSESSED AGAINST THE PETITIONER’S PROPERTY;

(3) FIND THE PETITIONER’S CONSTITUTIONAL RIGHTS WERE
VIOLATED BY THE CITY OF VADER;

(4) ALLOW DAMAGES TO THE PETITIONER; AND

(5) ALLOW LEGAL FEES AND COSTS.

DATED THIS 14™ DAY OF DECEMBER, 2020

  
 
 

 

 

f . Hebert,
Attomey for Petitioner, Judi Costello
41] NE First Street, P.O. Box 69
Winlock, Washington 98596

Phone: 360-785-3333

Email: fonyar) winiocklvw vom

LAND USE PETITION - COMPLAINT - PAGE 13

 
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VERIFICATION
The undersigned, under penalty of perjury under the laws of the State of Washington, states that
she is the Petitioner named herein; that she has read the foregoing Complaint and that the foregoing

_ Complaint is true and correct.

T DECLARE UNDER PENALTY OF PERJURY UNDR THE LAWS OF THE STATE OF
WASHINGTON THAT THE FOREGOING IS TRUE AND CORRECT.

DATED THIS / ¥ day of December, 2020 at Winlock, Washington.

Ld (ttle

Judi Costello

th
SUBSCRIBED AND SWORN TO before me this if day of December, 2020

 

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LAND USE PETITION - COMPLAINT - PAGE 14

 
Case 3:20-cv-06251-BHS-TLF Document 1-2 Filed 12/28/20 Page 15 of 22
VADER HEARING EXAMINER

299 NW, CENTER STREET
P.O, BOX 939
CHEHALIS, WASHINGTON 98532
PHONE; (360) 748-3386
FAX: (360) 748-5387

 

 

 

 

 

November 24, 2020

Ms. Tonya Hebert
Law Office of Tonya Hebert, PLLC
P. O. Box 69
Winlock, Washington 98596
Re: — Judy Costello - Appeal of Stop Work Order
Dear Ms. Hebert:

Enclosed herewith please find a copy of the Order Granting City of Vader's Motion for
Summary Judgment and Dismissing Appeal.

Very truly yours,

Meche ¢

Mark C. Scheibmeir
Vader Hearing Examiner

 

MCS:kit
Encl.

 
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BEFORE THE CITY OF VADER HEARINGS EXAMINER
HEARING NO. 2020-01

ORDER GRANTING CITY OF
VADER'S MOTION FOR
SUMMARY JUDGMENT AND
DISMISSING APPEAL

IN RE:
JUDY COSTELLO,

Appellant.

THIS MATTER comes before the City of Vader Hearing Examiner upon the appeal
brought by Judy Costello with respect to that certain Stop Work Order issued by the City on.
September 24, 2020, relating to Ms. Costello's roofing project at 706 B Street, Vader,
Washington.

Ms. Costello appears through Tonya Hebert. The City appears through its City Attorney,
Jennifer Robertson.

Pursuant to an earlier Pre-Hearing Order the matter was scheduled for hearing on
Thursday, November 19, 2020. In advance, both parties were provided a schedule for their list
of witnesses and exhibits as well as briefing, with any dispositive motions to be argued at the
time of the hearing. Both parties timely filed lists of witnesses and exhibits, submitted briefing,
and presented Cross-Motions for Summary Judgment.

The hearing commenced at 9:00 am. on November 19, 2020. Due to the ongoing
Covid-19 pandemic the hearing was conducted remotely utilizing the Go To Meeting platform
supplemented by telephonic access for any party unable to access Go To Meeting. Both parties
were present along with their counsel and expected witnesses.

At the commencement of the hearing the Hearing Examiner announced that there were no

apparent material facts in dispute and that the matter could be resolved by a ruling on the parties’

Cross-Motions for Summary Judgment.

Order Granting City of CITY OF VADER HEARING EXAMINER
Vader's Motion for Summary 299 N_-W. CENTER ST. / P.O. BOX 939
Judgment and Dismissing CHEHALIS, WASHINGTON 98532
Appeal - 1 Phone: 360-748-3386/Fax: 748-3387

 
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The following pleadings were considered:
1, Ms. Costello's Notice of Appeal dated October 1.
2. City Staff Report with enclosures.
3. Ms. Costello's Pre-Hearing Brief.
4. Ms. Costello's Motion and Declaration for Summary Judgment.
5. City's Pre-Hearing Brief including Motions in Limine, Motions to Strike
and Cross-Motion for Summary Judgment.
6. Declaration of Deputy City Clerk Stephanie Pelton with Exhibits.
7. Declaration of Jennifer Robertson with Exhibits.
8. City's Witness List,
9. Ms. Costello's Reply to City’s Pre-Hearing Brief.
10. Declaration of Cindy Radcliffe.

The Hearing Examiner having considered these documents, and having heard the final
arguments of counsel, hereby GRANTS the City's Motion for Summary Judgment and
DISMISSES Ms. Costello's Petition for Appeal.

For the benefit of the parties, the following are the undisputed facts and resulting
Conclusions of Law upon which this Decision is based.

UNDISPUTED FACTS

° Ms. Costello applies to the City for a Roofing Permit to tear off the existing roof
at the residence located at 706 B Street, Vader, and re-roof the residence with a three tah
composition roof.

e On June 3, 2020, Stephanie Montgomery (now Stephanie Pelton) from the City
Clerk's Office sends a letter to Ms. Costello notifying her of additional conditions needing to be

 

Order Granting City of CITY OF VADER HEARING EXAMINER
Vader's Motion for Summary 299 N.W. CENTER ST. / P.O, BOX 939
Judgment and Dismissing CHEHALIS, WASHINGTON 93532

Appeal ~ 2 Phone: 360-748-3386/Fax: 748-3387

 
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addressed in order to process the permit application. The attachment to her letter makes clear
that the property will require a roofing sheeting inspection.

° The City issues the requested Roofing Permit, Building Permit No. VAD-20-13,
on Fime 29, 2020. Page 2 of the Permit identifies all necessary inspections. It requires a roofing
sheeting inspection and a final roofing inspection.

® Ms. Costello subsequently begins removal of the existing roof and its replacement
with a new roof. Installation of the new roof begins without having first undergone a roofing
sheeting inspection.

s Upon learning that the new roof was being installed prior to a sheeting inspection,
the City issued a Stop Work Order on September 24, 2020. The Stop Work Order notifies Ms.
Cosiello that it is being issued as a result of there being no sheeting inspection. It allows her the
options of either removing the new roofing to examine the sheeting, or have a Washington State
Licensed Structural Engineer inspect the work and submit a detailed report that assures code
compliance. A copy of the Stop Work Order was posted onsite on September 24 and also
emailed to Ms. Costello's counsel, Ms. Hebert, on the same date. A copy of the Order was
served upon Ms. Costello by mail on October 8, 2020.

ISSUE BEFORE THE HEARING EXAMINER
The parties are in agreement that the issue before the Hearing Examiner is: “Whether the
Stop Work Order was correctly issued and/or whether a violation occurred". VMC 19.01.0800).
CONCLUSIONS OF LAW
Conclusions Relating to Whether a Violation Occurred.
1. The Roofing Permit expressly requires a sheeting inspection prior to the

installation of new roofing material.

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2. When the Roofing Permit stated "roofing sheeting inspection (2015 IRC
R908.3.1.1.), the reference to the IRC was simply explaining the City's authority for requiring
the sheeting inspection. This reference did not create any ambiguity or give the permit holder
the right to decide unilaterally whether an inspection was needed.

3. The Appellant did not appeal the terms of the Roofing Permit. Its requirements
became fixed and cannot now be challenged.

4. The Appellant's failure to obtain a sheeting inspection prior to re-roofing was a
clear violation of the Permit conditions.

Conclusions Relating to Whether the Stop Work Order was Correctly Issued.

This issue has two sub-issues:

® Was the Stop Work Order properly served?

e Was the Stop Work Order in proper format?

Was the Stop Work Order Properly Served?

4, VMC 19.01.040(d) allows for service of the Order by various means including
mailing a copy by first class mail, postage prepaid, to the party to be served at her usual mailing
address, as set forth in RCW 4.28.080(15).

5. The Appellant argues that this form of service only applies to situations involving
parties to a real estate purchase and sale agreement. This is clearly not the City's intent nor can
this conclusion be reached from a plain reading of the City's ordinance. The City's ordinance
clearly allows service by mail in the manner described in RCW 4.28.080(15).

6. On October 8, 2020, the Appellant was served by mail in the manner prescribed

by RCW 4.28.080(15).

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7, As a copy of the Notice was posted onsite on September 24, and service by mail
was effected on October 8, all requirements for service upon the Appellant were properly
accomplished on or before October 8, 2020.

Was the Stop Work Order in the Proper Form?

8. Pursuant to VMC 19.01.060(b): "The Stop Work Order shall include the
information required for a Notice of Violation” in addition to other information described in
VMC 19,01.060¢b).

9, The required information for a Notice of Violation is set forth in VMC
19.01.040(b). There are eleven identified requirements for a Notice of Violation: VMC
19.01.040(b}(1) through (11).

10. The Appellant argues that the Notice to Stop Work does not comply with VMC
19.01.040(b)(6) which requires "a specific identification of each standard, code provision, or
requirement violated". The Appellant argues that the Notice must cite to a "code provision".
The Hearing Examiner disagrees. The City is required to give notice of either the standard, code
provision or requirement violated. The Notice to Stop Work correctly and adequately notified
the Appellant of the requirement that had been violated, to-wit, the failure to have a roofing
shesting inspection.

il. The Appellant argues that the Notice to Stop Work violates VMC 19.01 -040(b)(8}
requiring notice of "a reasonable time for compliance". The Hearing Examiner disagrees. The
Appellant was given as much time as was needed to comply, with the only constraint on
Appellant being that no other work could be done until Appellant did comply. The Appellant

was therefore granted a reasonable time for compliance.

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1 { 12. The Appellant argues that the Notice violated VMC 1901.040(b)(11) requiring "a
2 | statement that the Notice of Violation represents a determination that a violation has been
committed by the person named in the Notice of Violation... ."" The Hearing Examiner
disagrees. The Notice to Stop Work represents a determination that a violation has been

committed by the Appellant, and that the determination is final unless appealed,

6
13. The Appellant further argues that the Stop Work Order is in violation of VMC
7
19.01.040(b)(11) for having failed to give notice that any "appeal must be timely filed under the
8
9 procedures set forth in Section 19.01.070 (within 15 calendar days of service of the Notice of

io | Violation)." The Hearing Examiner agrees that this additional notice was not included, but the
41 |Appeliant had been notified of the right to file an appeal and request an expedited hearing within

12 {7 days of service per VMC 19.01.060(b). The Appellant responded within the 7 days allowed

13 | under this other provision. Thus, the failure to give additional notice of the lengthier appeal

14 | period (that is 15 days rather than 7 days) had no impact as an appeal was timely filed under

 

'S | either requirement, Any error was therefore harmless.

‘6 14. The Notice of Stop Work complies with, or substantially complies with, all

"7 | requirements of VMC 19.01.060 and 19.01.040(b).

. 15. The Stop Work Order was correctly issued,

General Conclusions.

1 16. The City has met its burden of proving that a violation occurred and that the

99 Notice to Stop Work was correctly issued, The Appellant's appeal should therefore be denied.

53 OTHER ISSUES

24 In her Notice of Appeal and/or her Motion for Summary Judgment, the Appellant raises

25 | two additional challenges:
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+ “DATED this 2.3 day of November, 2020,

 

 

Mark C. Schetbmeir
City of Vader Hearing Examiner

CITY OF VADER HEARING EXAMINER

299 N.W. CENTER ST.

CHEHALIS, WASHIN

Fhone: 360-748-338

/ P.O. BOX 939

GTON 98532
6/Fax: 748.3397

 

 

 
